                          IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                                         Case No. 17-12560 (JKS)
    LLC, et al.,1
                                                                           (Jointly Administered)
                                   Remaining Debtors.


    MICHAEL GOLDBERG, as Liquidating Trustee of
    the Woodbridge Liquidation Trust, successor in
    interest to the estate of Woodbridge Group of
    Companies, LLC, et al.,

                                        Plaintiff,
                                                                          Adv. Proc. Case No. 19-51027 (JKS)
                              v.

    Kenneth Halbert,

                                        Defendant.


                        NOTICE OF SERVICE OF PLAINTIFF’S
                AMENDED AND RESTATED FIRST SET OF REQUESTS FOR
             PRODUCTION PROPOUNDED TO DEFENDANT KENNETH HALBERT

                    PLEASE TAKE NOTICE that on the 8th day of July, 2022, a true and correct

copy of (i) Plaintiff’s Amended and Restated First Set of Requests for Production Propounded to

Defendant Kenneth Halbert; and (ii) [REDLINE] Plaintiff’s Amended and Restated First Set of

Requests for Production Propounded to Defendant Kenneth Halbert was served on the

individual(s) listed below as and in the manner indicated:




1
    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
    Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
    Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.


DOCS_DE:239784.1 94811/003
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 Dated: July 8, 2022         PACHULSKI STANG ZIEHL & JONES LLP

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                             -and-

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                                     3
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